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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                                       3:22-cr-00010
                                                         CASE NO.
                Plaintiff,
                                                         JUDGE Michael J. Newman
        v.
                                                         INFORMATION
 JOHN ELLIOTT,                                           21 U.S.C. §§ 84 l(a)(l) and (b)(l)(C)

                Defendant.

THE UNITED STATES ATTORNEY CHARGES:

                                            COUNT 1

                              [21 U.S.C. § 841(a)(1) and (b)(1)(C)l

       On or about January 4, 2022, in the Southern District of Ohio, defendant, JOHN

ELLIOTT, did knowingly and intentionally distribute a mixture or substance containing a

detectable amount of methamphetaminc, a Schedule II l:ontrolled substance.

       In violation of Title 21, United States Code, Sections 841 (a)(l) and (b)(l)(C).



                                              KENNETH L. PARKER
                                              UNIT.ED STATES ATTORNEY


                                             /s/ DeMarr Moulton
                                             DEMARR MOULTON (NY 5724869)
                                             Assistant United States Attorney
